              Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 1 of 8. PageID #: 10

 RECEJ VED IN THE UNITED STATES DISTRICT COURT
                                      FOR THE SOUTHERN DISTRICT OF OHIO
           JAN 2 2 2025
RICHARD cc. BAGEL, CLERK OF COLR f
        COLUMBUS, OHIO

       G     c°eS'c o.acou\ L~c,               pa L P\e.y
  (ENTER ABOVE THE NAME OF THE PLAINTIFF IN THIS ACTION)

  IF THE PLAINTIFF IS A PRISONER:             PRISONER # J4$O\        I

                                        vs.


   C1Ay           o o. Lo          +Y , ckc
  (ENTER ABOVE THE NAME OF THE DEFENDANT IN THIS ACTION)

  IF THERE ARE ADDITIONAL DEFENDANTS PLEASE LIST THEM:
                                                                          2:25 CVOO5
                       c - €-\1e

  EA          n
                                                                                 JUDGE MORRISON
                                                                              MAGi5TRAT E JUDGE BOWMAN


                                                       COMPLAINT

  I.        PARTIES TO THE ACTION:

            PLAINTIFF:       PLACE YOUR NAME AND ADDRESS ON THE LINES BELOW. THE
                             ADDRESS YOU GIVE MUST BE THE ADDRESS THAT THE COURT MAY
                             CONTACT YOU AND MAIL DOCUMENTS TO YOU. A TELEPHONE
                             NUMBER IS REQUIRED.

                                     GinPr?eSt              L 2W 45       -
                             NAME - FULL NAME PLEASE - PRINT


                             ADDRESS: STREET, CITY, STATE AND ZIPCODE
                             Come ~ov\a1 ~.u.ee~4o~n ~~.v'k
                              Po,Ro c Soo 1` a1\ 91-.R4r. 1 ba O-° ev\k , oti°0 N3iy6

                                                  ay~li
                             TELEPHONE NUMBER

            IF THERE ARE ADDITIONAL PLAINTIFFS IN THIS SUIT, A SEPARATE PIECE OF PAPER
            SHOULD BE ATTACHED IMMEDIATELY BEHIND THIS PAGE WITH THEIR FULL NAMES,
            ADDRESSES AND TELEPHONE NUMBERS. IF NO ADDITIONAL PLAINTIFFS EXIST CONTINUE
            WITH THIS FORM.

            PAGE 2 AND 3 OF THIS FORM DEAL ONLY WITH A PLAINTIFF THAT IS INCARCERATED
            AT THE TIME OF FILING THIS COMPLAINT.




                                                              -1-
  Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 2 of 8. PageID #: 11
IF YOU ARE A PRISONER FILING A CIVIL SUIT THE FOLLOWING INFORMATION IS
REQUIRED:

PREVIOUS LAWSUITS:

     A.   HAVE YOU BEGUN OTHER LAWSUITS IN STATE OR FEDERAL COURT DEALING
          WITH THE SAME FACTS INVOLVED IN THIS ACTION OR OTHERWISE RELATING
          TO YOUR IMPRISONMENT? YES ()NO

     B.   IF YOUR ANSWER TO A IS YES, DESCRIBE THE LAWSUIT IN THE SPACE BELOW.
          (IF THERE IS MORE THAN ONE LAWSUIT, DESCRIBE THE ADDITIONAL
          LAWSUITS ON ANOTHER PIECE OF PAPER, USING THE SAME OUTLINE.)

          1.   PARTIES TO THIS PREVIOUS LAWSUIT

               PLAINTIFFS:




               DEFENDANTS:




          2.   COURT (IF FEDERAL COURT, NAME THE DISTRICT: IF STATE COURT,
               NAME THE COUNTY)

                                  v/4
          3.   DOCKET NUMBER




          4.   NAME OF THE JUDGE TO WHOM THE CASE WAS ASSIGNED



          5.   DISPOSITION (FOR EXAMPLE, WAS THE CASE DISMISSED? WAS IT
               APPEALED? IS IT STILL PENDING?)

                                      w/1
          6.   APPROXIMATE DATE OF THE FILING OF THE LAWSUIT



          7.   APPROXIMATE DATE OF THE DISPOSITION




                                        -2-
  Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 3 of 8. PageID #: 12
PLACE OF PRESENT CONFINEMENT

Cprr(A-'?ovla         <€L~(~f4ovt     GeA1fP1
     A.   IS THERE A PRISONER GRIEVANCE PROCEDURE IN THIS INSTITUTION?
          YES 1 NO ( )

     B.   DID YOU PRESENT THE FACTS RELATING TO YOUR COMPLAINT IN THIS STATE
          PRISONER GRIEVANCE PROCEDURE? YES ( ) NO 1jQ

     C.   IF YOUR ANSWER IS YES:

          1.   WHAT STEPS DID YOU TAKE?




          2.   WHAT WAS THE RESULT?




     D.   IF YOUR ANSWER IS NO, EXPLAIN WHY NOT.

               coL e ° WG5 PtiotiA °n }he 'AO            rav\ (A\4,o ~Gaced
          ova a    V\i \ Sec.; -?+y Pie c~u+ooh 4o             e-ce, nv~~y SR+
                  0          0                  0                        o
          CA Y\ Pool nc& ou,~r my    a inl3it~r inn ,• w tre .~~~e'v   wee ar.(-t ro
          ~1n2 Ki0S1~ 50     gar F4~Z WV' o~ ~evo+n
     E.   IF THERE IS NO PRISON GRIEVANCE PROCEDURE IN THIS INSTITUTION, DID
          YOU COMPLAIN TO PRISON AUTHORITIES? YES ( ) NO ( )

     F.   IF YOUR ANSWER IS YES:

          1.   WHAT STEPS DID YOU TAKE?




          2.   WHAT WAS THE RESULT?




                                          -3-
     Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 4 of 8. PageID #: 13

DEFENDANTS:

PLACE THE NAME AND ADDRESS OF EACH DEFENDANT YOU LISTED IN THE CAPTION ON
THE FIRST PAGE OF THIS COMPLAINT. THIS FORM IS INVALID UNLESS EACH DEFENDANT
APPEARS WITH FULL ADDRESS FOR PROPER SERVICE.


      NAMES - FULL NAME PLEASE


      ADDRESS - STREET, CITY, STATE AND ZIP CODE

2.     1a~~ W.          , -t--r ,-   Cl€A/ Act \A(   Q   0 LIy \ \3

                                                                     o~~ t   \5
3.      ~                                            Ate`   \   3 o~„


4.




5.




6.




IF THERE ARE ADDITIONAL DEFENDANTS, PLEASE CONTINUE LISTING THEM.




                                             -4-
     Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 5 of 8. PageID #: 14
                                                              STATEMENT OF CLAIM

PLEASE WRITE AS BRIEFLY AS POSSIBLE THE FACTS OF YOUR CASE. DESCRIBE HOW EACH
DEFENDANT IS INVOLVED. INCLUDE THE NAME OF ALL PERSONS INVOLVED. GIVE DATES AND
PLACES.

DO NOT GIVE ANY LEGAL ARGUMENTS OR CITE ANY CASES OR STATUTES.

IF YOU HAVE A NUMBER OF DIFFERENT CLAIMS; PLEASE NUMBER AND SET FORTH EACH CLAIM
IN A SEPARATE PARAGRAPH. USE AS MUCH SPACE AS YOU NEED. YOU ARE NOT LIMITED TO THE
PAPERS WE GIVE YOU. ATTACH EXTRA SHEETS THAT DEAL WITH YOUR STATEMENT CLAIM
IMMEDIATELY BEHIND THIS PIECE OF PAPER.

\.                               or,,€2 v2v\t&P_ - I\°
b~ Ala L) f (                                                 "a'E3           r               ra          +ke
lAv\c\et'          (,ArC          oc                              `c w.       E1F           ~~i~~+~            seGUce~ b~ -k* '
                                          oc n~4L~I~~4f \v\?*~-& S-rr~+t }ln~ (n                                               '4'
                                            dC X         iS       (A s 7 C          S L(}c          n V    I
                                                                                                               ?
                                                                                                                ~~     r\y -         Y2       4 3    L')   L)4



                            3ee.K5                      (\aca~c~c~~ re►c'PF                                VSU,av\
        r         V1            ,O\                                     ?\o                     F9~ f \o.\vY.S cc °~~t,.vV.r°VP-
CtVe.c ore                           U.SG
xY\c1 Q \e (05 oc -k\ e_ Fe c\e coo\   At oc C_° v\\ ccc~                                                                                            i ce .
a o 1 1r\ e,                                                                            c                             c --In
                         nF o- a °S am n~ProP~tr~ke Ve-V\~~~ ~~v~~e1C 2~~ U.S.L'
                                                                              \k
2 eck            pvl     \o\      (         (       )         L0Ai1~52                  a S LJ~ e~c e
                                                                                                      1  n
 °S~ ~p                  ~,,°5        C\ n,°v✓t au c~<<P~, P_U ()'                                   ckp~ ~Othvt~ °S

~nC+1v►aAOUy                   awd h°S OFFk                             La?o.L°k4J (.t u.0 - - vnP,w °an'~ °v~ ~~i5   c~I~bo°tvrk P,0.G11
                                           cnv\c        c k e          LO\o   O. 'T aft- \wW
Ov\ -4e above                                                     v\     °w\2 OF vvrxrr v ,1D, J)a,3          +w~e~vt

+I~e.       `r    c v3                                    AV\      `a~L~p                   ~A)uI         u~3                             l         C,     `



(~ti4krv\ (,)o.S \6r_a*                                 ov\ ~a4\                   ov\ - r\cL l Y '                        oEW
Gv,c~a`\o r                C ov&v~+~ c\ i`                    °    L,J0                             Ocnc        -       qO trnf+                         c04i-k

' i \a                     c- w° gin Leas \ocro. ce. oc k-tip 1 ` F 1 oor oc t ae\ .
W1neN\
                  6
                         Wv~S             ~y12
                                                                        W
                                                     w\22-F°v~q ^ y✓~cl~_ ~rs.UJY~t'                                 t,Jn.S          rav~5e~c ~P

\ t c            -k-o                 \             F\ooc          (X     °       u)O5          Wo. °ri~              obc;i                   )çp    rAO \v\

m           Poi o.                                        5° cue_ O\k~ o.LKeA
                        PF3c~    O-             L         O \t          *\At                         *c~*Sov\o\
b       W\~


                                                                                  -5-
                             Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 6 of 8. PageID #: 15




                    p
          Pc_d_oFF°1c                          *            P~        Fo o. 2_                  -_ ~oe~        o\E *©
                                                    ?off _a                o&A cap bA~c- A                                   &       \-
 W c~.S      u.L~e b --cS F__.          .~~ W c7.~ *        oaY~vV'     ,cc               c    \   'c a    \o e                                -         --

owuj        'v          _ W w5 - ass ems             o.t~~._ - C -, ~ -                            W' r           °                                     ----
 ov1 a _
                    ~'
                             ~~v.c°     ~v~.. ~s~~a~ ° o_v~ to                         Qy               $ -t
      ZD~~2_ _ \°we                                     \                     c5      ~       P.~.t~~ _ iN~ 2 -pv~k _ _wi c. —_ C ~c 1 c~v1

-Wk,\'                          wee.                             Q     -c.~55-         - Y~~ ~C°s~                    ~c --Lave-

                                                                                                    _

                                                                                                           y _~~~~s _~+~h►~
                                                                                                                         O       O            O
                                                                          v        kJ`?ov~ aS-                                            ~_-r,~t~f
              c c        *          o ~ lows           4►             ~w-Fs        !~a~ i.) v € c-         vo&e.                              ~n-
 Pr       v\dv &V\ r                                                                               v'y    Favtrtz~tn+k               idv      ,vf
                                   .
                                 ~C v        e \o                     -rio - ' o~°-~ ., ad         sa e, o r co              e*e. F{,vn Qd
                                         1     _ ~r~~~h c~eS~cQb.ed—__1~er~°~..- P~ca~_~. ~_FF ha                                            &v         --
-~✓~~~      Gor          ' u'    'ro \e                                                                                                              s.----
__t                                                           &_\OC_Ok1L (4                                                               ~1------
             Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 7 of 8. PageID #: 16




                                        ~r- o                     c-~           -v


                  u    - o\ P,~~n° 5' - vv      c
U\   OS   e- ~~~S~Je   Foci     o~v~~ ?\            c..a.\_               bf    f r' o'1 OFFc_?4


                        °~hfi     F~,~rfie,~,~ i~ t~          dw~_ev►+5        )hrce. v.°oia~ed
  Case: 1:25-cv-00130-DAR Doc #: 1-1 Filed: 01/22/25 8 of 8. PageID #: 17
                                                      RELIEF

IN THIS SECTION PLEASE STATE (WRITE) BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO
DO FOR YOU. MAKE NO LEGAL ARGUMENT, CITE NO CASES OR STATUTES.

     -1EREFoRe,                 ? V f°cF respe +EcU                                  f)           3 -I--Liat +1i 95
(oLAC+        v~-f-M       \ L&c       kvt in+       JcQ fcx,vn±°v\j           ~Ai;n$~~c           O. c~~C~rAfo4 ova

k'v ?r "~h~ i c.-b ~~ d                               ai s° ~ v, 5       (J e SLr;'b PI              -r-

V4olcat&i                              "      r       k+s       (Afrldkl        +                    V
        ~azLy,    Q                        vi+P,c{    '±*            ,     A   ~cel°w►~h~('                  AhJ


                                                               g_: V Qu w
•i 0 do           H9 k ProeS 4 oua.cnvi                                          v~-V5       --k          d eF dahf
40 P°'~ v4e           ,~    Cow►Pe~✓~5dcor                     tLy+✓►`o 3e5 °h +be. O.wtpuh+ OF

    5 00 • boo ov 3+ &.cl \ d €4 P4'1 d avt-(                                        ` o' vf t4       o~~ d s pverauy
r v\\ Puy°~°~~ ~v"~~e5 °n 41i                                                                aF            a5OAvco
E91r~0.~v<~      Pith       d      p        {avif      ixv.d                     l        vvF'S     fti
~Q,F e,vtcLN\4 -o Pay Ptar~ °PF's ccs53 ~~, ~In~S ~ °c~F
        U\v~c ~ cad ~ o V\ dl~ Ff-1° r\- -"g'--I- d e. e-w j c 5-f
PC




SIGNED THIS   1~        DAY OF J(~I/1L,1CA` (~                   20a5 .




SIGNATURE OF PLAINTIFF




                                                         -6-
